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                        C           C
                 S     D            C         1.0
                     WQO          WQO
                            D            C
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                        C           C
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                        C           C
                 S     D            C         1.0
                     WQO          WQO
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